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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

JASON GAZA _Pe

 

 

Plaintiff, oo B=
Case Number %.\Q-CV -(fo- 12x
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DIVERSIFIED CONSULTANTS, INC. . as
Defendant
/
COMPLAINT

Plaintiff brings this action against Defendant, on the
grounds and the amounts set forth herein.
II. PARTIES

1. Plaintiff is a natural person and consumer residing in
Pasco County, Florida.

2. Defendant is a Florida for-profit corporation whose
principal place of business is in Jacksonville, Florida.

3. Defendant, a self- described “debt collector” that attempts
to collect consumer debts by repeatedly calling
individual’s cellular telephone numbers from the
Defendant’s automated telephone dialing system, including

pre-recorded variety messages, in an attempt to collect a

 

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debt from Plaintiff that Plaintiff did not owe to
Defendant.
III. JURISDICTION AND VENUE

4. Venue in Federal Middle District of Florida is proper in
this action because the Plaintiff resides in the district
all events arising in this action occurred in the district,
which falls within the jurisdiction of the Middle District
-of Florida, Tampa Division. Jurisdiction is conferred on

this Court by 28 U.S.C. 1331 and 28 U.S.C. 1367.

IV. FACTUAL ALLEGATIONS
5. Plaintiff is a consumer, but does not owe Defendant nor any
known subsidiary of Defendant a debt.
6. Defendant is a debt collector.

This action arises out of a series of approximately 70
autodialed calls placed by Defendant to Plaintiff's
cellular telephone number ending in 0952 Upon information
and belief, Defendant’s calls to Plaintiff’s cell phone
are of the “wrong number” variety.

Since November 26, 2016, Plaintiff was, and has been,
the owner and subscriber of her cellular telephone number

ending in 0952 through T-Mobile.
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13.

At no time has Plaintiff ever received any compensation
relating to any settlement in a class action lawsuit for

Defendant's TCPA violations.

. Defendant began calling Plaintiff’s cell phone, which is

believed to have begun on or before October 2017 and

continued until at least December 2017.

Upon information and belief, Defendant on separate
instances has placed the auto-dialed telephone calls to
Plaintiff’s cellular telephone number using their
respective automated telephone dialing equipment,
without human intervention. The automatic telephone
dialing system (“ATDS”) nature of the calls were self-
evident, as the calls would also be prefaced by various
clicks, delays and pauses at the beginning of each call,
which are traits indicative of ATDS equipment, included

messages of the pre-recorded variety.

None of the calls at issue were placed by Defendant
to Plaintiff's aforementioned cellular telephone
numbers for "emergency purposes" as specified by the

TCPA, 47 U.S.C. §227 (b) (1) (A).

On information and belief, Defendant placed its

respective telephone calls to Plaintiff’s cellular

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telephone number using a predictive dialer, as well as,
other known autodialing systems/ATDS. Each call that
Defendant placed to Plaintiff was made using an
“automatic telephone dialing system” that has the
capacity to store or produce telephone numbers to be
called, using a random or sequential number generator;
and to dial such numbers as specified by 47 U.S.C.

§227(a) (1).

14. Upon information and belief, Defendant used an automatic
telephone dialing system, a predictive dialing system,
(as defined by the Federal Communications Commission’s
interpretation of automatic telephone dialing system
under the Telephone Consumer Protection Act to place
calls to Plaintiff’s cellular telephone number during

the last four years.
15. The TCPA provides in 47 U.S.C. 227(b) (3):

(3) PRIVATE RIGHT OF ACTION.—A person or entity may, if
otherwise permitted by the laws or rules of court of a State,
bring in an appropriate court of that State— (A) an action
based on a violation of this subsection or the regulations
prescribed under this subsection to enjoin such violation,

(B) an action to recover for actual monetary loss from such a

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violation, or to receive $500 in damages for each such
violation, whichever is greater, or (C) both such actions. lt
the court finds that Defendant willfully or knowingly
violated this subsection or the regulations prescribed under
this subsection, the court may, in its discretion, increase
the amount of the award to an amount equal to not more than 3
times the amount available under subparagraph (B) of this

paragraph.

16. Defendant’s respective violations of the TCPA were

willful and knowing.

17. Plaintiff is entitled to damages of $1,500.00 for each
call willfully placed to her cellular telephone numbers. In
the event the Court finds the calls were not willful then

Plaintiff is entitled to damages of $500.00 per call.

18. By Defendant calling the Plaintiff’s cellular
telephone number without express consent and in direct
violation of Plaintiff's instructions, Defendant willfully

and knowingly violated the TCPA.47 U.S.C. 227.

WHEREFORE, Plaintiff prays that judgment be entered

against the Defendant for the following:

(1) Judgment be entered against Defendant pursuant to

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47 U.S.C. 227(b) (3) for damages of $1,500.00 for each
respective call willfully or knowingly placed to
Plaintiff's cellular telephone number. In the event the
Court finds the calls were not willful or placed
knowingly then Plaintiff is entitled to damages of
$500.00 per call;

(2) Fair and reasonable costs of this action, including
court costs, where provided for by law;

(3) Such other and further relief that the Court deems

just and proper.

s/W. John Gadd

 

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